Case 2:19-cv-08917-SB-KS Document 32-19 Filed 02/11/21 Page 1 of 2 Page ID #:658



   1
       Jen-Feng Lee, SBN 204328
   2   jflee@ltpacificlaw.com
       Kenneth K. Tanji, Jr., SBN 162273
   3
       ktanji@ltpacificlaw.com
   4   LT Pacific Law Group, LLP
   5
       17800 Castleton Street, #560
       City of Industry, CA 91748
   6   T: 626-810-7200
   7   F: 626-810-7300
   8
       Attorneys for Plaintiff
   9   OCM GROUP USA INC.
  10

  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13

  14   OCM GROUP USA INC.                            Case No. 2:19-CV-08917-SB (KSx)
  15
                   Plaintiff,                        PLAINTIFF’S EVIDENTIARY
  16                                                 OBJECTION TO EVIDENCE
  17
             vs.                                     SUBMITTED BY DEFENDANT

  18   LIN’S WAHA INTERNATIONAL
  19   CORP, a New York corporation; and
       DOES 1 - 10,
  20

  21               Defendants.
  22

  23

  24
             TO THE HONORABLE COURT, THE PARTIES AND THEIR
  25

  26   RESPECTIVE ATTORNEYS OF RECORD:
  27

  28
       ____________________________________________________________________________________

                                 Plaintiff’s Evidentiary Objection
                                                 1
Case 2:19-cv-08917-SB-KS Document 32-19 Filed 02/11/21 Page 2 of 2 Page ID #:659



   1
                Plaintiff OCM presents this evidentiary objection in response to evidence
   2
       submitted by Defendant Lin’s Waha International (“LW”) per the Courts’ MSJ
   3
       order.
   4

   5
                     Evidence                         Objection                Ruling
   6
       1. LW imports approximately            Irrelevant
   7
       600 genuine food products              (unidentified 600
   8
       ( ¶4 of Lin, Xiuqing Decl. - ECF products not at issue)
   9
       #30-18)
  10
       2. Products at Issue purchased Legal conclusion
  11
       via Fujian were “genuine”              (“genuine” is the
  12
       ( ¶6 of Deng Decl. - ECF #30- disputed issue in this
  13
       14)                                    case)
  14
       3. Declarant’s statement of            Legal conclusion
  15
       Products at Issue were “genuine        (“genuine” is the
  16
       (¶17 of Lin Decl. - ECF #30-18)        disputed issue in this
  17                                          case)
  18
       4. Products at Issue were sold         Irrelevant
  19   (majority of its sales) outside the    (OCM’s U.S.
  20   State of California                    exclusivity is admitted
  21   (¶14 of Lin Decl. - ECF #30-18)        to be undisputed)
  22

  23   Dated: 2/11/2021                                   Respectfully Submitted,
  24                                                      /s/Jen-Feng Lee
  25                                                      Jen-Feng (Jeff) Lee
  26                                                      Attorney for Plaintiff
                                                                OCM GROUP USA INC.
  27

  28
       ____________________________________________________________________________________

                                  Plaintiff’s Evidentiary Objection
                                                  2
